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UNITED STATES DISTRICT COURT re) Seu
SOUTHERN DISTRICT OF INDIANA ea

INDIANAPOLIS DIVISION TBFED 2] py y, Oy
UNITED STATES OF AMERICA, ) Oe ERIC
) oo ns
Plaintiff, )
)
v. )
)
NOLAN BRAND,
)

Defendant. ) 1 : 18 -cr-Q 055 JMS -DML

INDICTMENT
The Grand Jury charges that:

General Allegations

 

At all times relevant to these charges:

1. NOLAN BRAND, the defendant herein, was a resident of the Southern
District of Indiana.

2. The name “MINOR VICTIM 1” is the pseudonym of a minor child who
was less than 16 years old at the time of the relevant conduct.

3. The name “MINOR VICTIM 2” is the pseudonym of a person who was
less than 17 years old at the time of the relevant conduct.

4. BRAND produced visual depictions of MINOR VICTIM 1 using his cell
phone, which was not manufactured in the State of Indiana, and, therefore travelled

in interstate or foreign commerce.
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5. BRAND used cell phones to receive and possess visual depictions of
MINOR VICTIM 2 engaged in sexually explicit conduct. He received these images
using interstate cellular signals or the internet, which is a means or facility of
interstate or foreign commerce.

Definitions

6. The term “minor” means a person under the age of eighteen (18) years
as defined in 18 U.S.C. § 2256.

7. The term “sexually explicit conduct” as defined in 18 U.S.C. § 2256,
means actual or simulated 1) sexual intercourse, including genital-genital, oral-
genital, anal-genital, or oral-anal, whether between persons of the same sex or
opposite sex; 2) masturbation; or 3) lascivious exhibition of the genitals or pubic
area of any person.

8. The term “visual depiction” is defined in 18 U.S.C. § 2256(5) as
including undeveloped film and videotape, data stored on computer disk or by other
electronic means which is capable of conversion into a visual image, and data which
is capable of conversion into a visual image that has been transmitted by any

means, whether or not stored in a permanent format.
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Count 1
Sexual Exploitation of a Child
18 U.S.C. § 2251(a)

9. Paragraphs 1 through 8 of this Indictment are re-alleged and
incorporated by reference in Count 1.

10. On or about September 29, 2017, within the Southern District of
Indiana and elsewhere, the defendant, NOLAN BRAND, did use, employ, entice,
persuade, induce, and coerce MINOR VICTIM 1 to engage in sexually explicit
conduct for the purpose of producing any visual depiction of such, knowing or
having reason to know that such visual depiction would be transported or shipped
in interstate or foreign commerce or mailed, or such visual depiction was produced
using materials that had been mailed, shipped, or transported in interstate or
foreign commerce by any means, including by computer, or such visual depiction

was actually transported or shipped in interstate or foreign commerce or mailed.

All of which is a violation of 18 U.S.C. § 2251(a).
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Count 2
Possession of a Device Containing
Visual Depictions of Minors Engaged in Sexually Explicit Conduct
18 U.S.C. § 2252(a)(4)(B)

11. Paragraphs 1 through 8 of this Indictment are re-alleged and
incorporated by reference in Count 2.

12. On or about December 4, 2017, in the Southern District of Indiana, the
defendant, NOLAN BRAND, knowingly possessed one or more books, magazines,
periodicals, films, video tapes, and other matter, which contained visual depictions
that had been mailed, shipped and transported using any means and facility of
interstate and foreign commerce, and shipped and transported in and affecting
interstate and foreign commerce, and which were produced using materials which
had been mailed, and so shipped and transported, by any means including by
computer, where the producing of such visual depictions involved the use of minors
engaging in sexually explicit conduct and such visual depictions were of such
conduct, that is: the defendant knowingly possessed at least one device that
contained one or more visual depictions of minors under the age of 18 years, that is
an AT&T iPhone and a Samsung Tablet.

All of which is a violation of Title 18, United States Code, Section

2252(a)(4)(B).
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Count 3
Receipt of a Visual Depiction of a Minor
Engaged in Sexually Explicit Conduct
18 U.S.C. § 2252(a)(2)

13. Paragraphs 1 through 8 of this Indictment are re-alleged and
incorporated by reference in Count 3.

14. Onor between June 1, 2014 and August 1, 2014, in the Southern
District of Indiana, the defendant, NOLAN BRAND, knowingly received or
distributed any visual depiction using any means or facility of interstate or foreign
commerce, by any means including by computer, where the producing of such visual
depiction involved the use of a minor engaging in sexually explicit conduct and such
depiction was of such conduct, that is: the Defendant used a computer with a
connection to the internet to receive visual depictions of a minor engaging in

sexually explicit conduct as defined in Title 18, United States Code, Section

2256(2)(A).

All of which is a violation of Title 18, United States Code, Section 2252(a)(2).
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Forfeiture

1. Pursuant to Federal Rule of Criminal Procedure 32.2, the United
States hereby notifies the defendant that it will seek forfeiture of property,
criminally and/or civilly, pursuant to Title 18, United States Code, Sections 2253
and 2254 as part of any sentence imposed.

2. Pursuant to Title 18, United States Code, Section 2253, if convicted of
the offenses set forth in Counts 1 through 3 of this Indictment, the defendant shall
forfeit to the United States:

a. any visual depictions described in Title 18, United States Code,
Sections 2251, 2251A, or 2252, 2252A, 2252B, or 2260, and any book,
magazine, periodical, film, videotape, or other matter which contains
any such visual depictions, which were produced, transported, mailed,
shipped, or received in violation of Title 18, United States Code,
Chapter 110;

b. any property, real or personal, used or intended to be used to
commit or to promote the commission of such offenses of which the
defendant is convicted, or any property traceable to such property, such
as all computers, storage media, cameras and electronic equipment
taken from his person or residence by law enforcement officers during
the investigation of these offenses. It also includes any property, real

or personal, constituting or traceable to gross profits of other proceeds
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derived from said offenses.

3. The property subject to forfeiture includes, but is not necessarily
limited to all items confiscated from the Defendant on December 4, 2017, including
a Samsung tablet, Apple laptop computer, a gray laptop computer, an AT&T iPhone
and a 4 GB PNY micro SD card.

A. The United States shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and as incorporated by
Title 18, United States Code, Section 2253(b), if any of the property described above
in paragraph 3, as a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

Cc. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

divided without difficulty.
5. In addition, the United States may seek civil forfeiture of the property
described above in paragraph 3 pursuant to Title 18, United States Code, Section

2204.
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A TRUE BILL:

 

JOSH J. MINKLER
United States Attorney

By:

 

Kristina Marie Korobov
Assistant United State Attorney
